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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
                              MAGISTRATE JUDGE PATRICIA A. COAN

  Civil Action No. 06-cv-00709-EWN-PAC

  MANUAL SANTISTEVAN,

                 Plaintiff(s),
  v.

  WILLIAM SALLEE, and
  FRED WEGENER, Sheriff of Park County, Colorado,

                 Defendant(s).


                                          ORDER SETTING
                                 SCHEDULING/PLANNING CONFERENCE


        The above captioned case has been referred to Magistrate Judge Patricia A. Coan
  pursuant to the Order of Reference entered by Judge Edward W. Nottingham on April 17, 2006.

          IT IS HEREBY ORDERED that a Scheduling/Planning Conference pursuant to
  Fed.R.Civ.P. 16(b) shall be held on May 22, 2006, commencing at 9:30 a.m. in Courtroom A501,
  5th Floor of the Alfred A. Arraj United States Courthouse, 901 19th Street, Denver. If this date is
  not convenient for any counsel/pro se party, he/she shall file a motion to reschedule the
  conference to a more convenient date, and shall list dates in the motion which are available for
  all counsel/pro se parties.

         Absent exceptional circumstances, no request for rescheduling any appearance in
  this court will be considered unless a motion is made FIVE (5) business days in advance of
  the date of appearance.

         The plaintiff shall notify all parties who have not entered an appearance of the date
  and time of the Scheduling/Planning Conference.

          IT IS ORDERED that counsel/pro se parties in this case are to hold a pre-scheduling
  conference meeting and prepare a proposed Scheduling Order in accordance with Fed.R.Civ.P.
  26(f), as amended, and the instructions accompanying the form scheduling order on or before 21
  days before the scheduling conference. Pursuant to Fed.R.Civ.P. 26(d), as amended, no
  discovery is to be exchanged until after the Rule 26(f) conference meeting.

          No later than five (5) calendar days prior to the Scheduling/Planning Conference,
  counsel/pro se parties shall submit their proposed Scheduling Order in the format available on the
  Court’ s website at: www.cod.uscourts.gov under magistrate judges forms (in PDF) in compliance
  with the Court’s Electronic Case Filing Procedures which are also available on the Court’
                                                                                          s website.
  An additional copy of the proposed scheduling order is to be provided to my chambers at
  Coan_Chambers@cod.uscourts.gov by e-mail attachment with the subject line stating “proposed
  Scheduling Order”and in WordPerfect format.
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          In addition to the instructions for completing the Scheduling Order, which may be found
  on the court’ s website with the scheduling order form, counsel and pro se parties should consider
  whether electronic discovery will be needed. Specifically, in those cases in which: (I) the parties’
  substantive allegations involve extensive computer-generated records; (ii) a substantial amount
  of disclosure or discovery will involve information or records in electronic form (i.e., e-mail, word
  processing, databases); (iii) expert witnesses will develop testimony based in large part on
  computer data and/or modeling; or (iv) any party plans to present a substantial amount of
  evidence in digital form at trial, the parties shall confer regarding what efforts will be needed to
  preserve computer records and data, facilitate computer-based discovery and who will pay costs,
  resolve privilege issues, limit discovery costs and delay, and avoid discovery disputes relating to
  electronic discovery. The parties shall include these issues, if appropriate, in the proposed
  scheduling order and shall be prepared to discuss them at the scheduling/planning conference.


          Further, on or before 14 days after the Rule 26(f) pre-scheduling conference meeting, the
  parties shall comply with the mandatory disclosure requirements of Fed.R.Civ.P. 26(a)(1), as
  amended.

          Parties who are pro se or do not have access to the internet may obtain the scheduling
  order form and instructions from the Clerk’ s Office, Room A105, in the Alfred A. Arraj United
  States Courthouse, 901 19th Street, Denver, Colorado, 80294. Scheduling Orders prepared by
  parties not represented by counsel, or without access to electronic case filing, are to be submitted
  to the Clerk of the Court on paper.

          IT IS FURTHER ORDERED that at least five (5) calendar days before the
  Scheduling/Planning Conference, counsel/pro se parties shall submit a brief Confidential
  Settlement Statement to the Magistrate Judge ONLY, outlining the facts and issues involved in
  the case, and the possibilities for settlement, including any settlement authority from the client.
  Electronic case filing participants are to submit their Confidential Settlement statements to
  chambers at Coan_Chambers@cod.uscourts.gov. with the subject line stating “Confidential
  Settlement Statement”along with the case number and case caption. The Confidential Settlement
  statement should be submitted in PDF format and sent as an attachment to the e-mail.
  Documents with attachments totaling over 15 pages shall be submitted to the Clerk’s office in
  an envelope labeled “Personal Materials”addressed to Magistrate Judge Patricia A. Coan.1
  Counsel/pro se parties should be prepared to discuss settlement at the Scheduling/Planning
  Conference and should obtain full settlement authority from the client, or have the client available
  either in person or by telephone.

        All out-of-state counsel shall comply with D.C.COLO.LCivR 83.3 before the
  Scheduling/Planning Conference.

         It is the responsibility of counsel/pro se parties to notify the Court of his/her entry of
  appearance, notice of withdrawal, notice of substitution of counsel, or notice of change of address,
  e-mail address, or telephone number by complying with the Court’          s Electronic Case Filing
  Procedures or paper-filing the appropriate document with the Court.

          The Parties are further advised that they shall not assume that the Court will grant
  the relief requested in any motion. Failure to appear at a court-ordered conference or to


         1
           Do not label this envelope “confidential settlement statement”because you will
  risk the public filing of the document.
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  comply with a court-ordered deadline which has not been vacated by court order may result
  in the imposition of sanctions, under Rule 16(f), Fed.R.Civ.P.

         Anyone seeking entry to the Alfred A. Arraj United States Courthouse will be required
  to show valid photo identification. See D.C.COLO.LCIVR. 83.2B. Failure to comply with this
  requirement will result in denial of entry to the courthouse.

         DATED: April 20, 2006 at Denver, Colorado.

                                                   BY THE COURT:


                                                   s/Patricia A. Coan
                                                   Patricia A. Coan
                                                   United States Magistrate Judge
